Case 2:18-cv-01290-WSS Document 179-5 Filed 08/13/20 Page 1 of 6




                   ([KLELW'
Case 2:18-cv-01290-WSS Document 179-5 Filed 08/13/20 Page 2 of 6
Case 2:18-cv-01290-WSS Document 179-5 Filed 08/13/20 Page 3 of 6
Case 2:18-cv-01290-WSS Document 179-5 Filed 08/13/20 Page 4 of 6
Case 2:18-cv-01290-WSS Document 179-5 Filed 08/13/20 Page 5 of 6
Case 2:18-cv-01290-WSS Document 179-5 Filed 08/13/20 Page 6 of 6
